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                                         The Honorable Robert S. Lasnik
                   UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF WASHINGTON
                            AT SEATTLE


STATE OF WASHINGTON, et al.                   No. 2:18-cv-01115-RSL

                Plaintiffs,
                                         REPRESENTATION STATEMENT
v.

UNITED STATES DEPARTMENT OF
STATE, et al.,

                Defendants.
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